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   Consumer Financial Protection Bureau


                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA

 Consumer Financial Protection Bureau, Case No. 15-cv-02440-GPC-AHG
             Plaintiff,                   Plaintiff Consumer Financial Protection
                                          Bureau’s Notice of Motion and Motion for
             v.                           Default Judgment Against Defendant Global
 Global Financial Support, Inc.,          Financial Support, Inc.
 d/b/a Student Financial Resource
 Center, d/b/a College Financial          Date: December 11, 2020
 Advisory; and                            Time: 1:30 p.m.
                                          Crtrm: 2D
 Armond Aria a/k/a Armond Amir Aria,      Judge: The Hon. Gonzalo P. Curiel
 individually, and as owner and CEO of
 Global Financial Support, Inc.;

             Defendants.
     Case 3:15-cv-02440-GPC-AHG Document 104 Filed 08/21/20 PageID.2165 Page 2 of 3



 1          Plaintiff Consumer Financial Protection Bureau hereby moves, pursuant to Federal
 2    Rule of Civil Procedure 55(b) and S.D. Cal. Local Rule 55.1, for entry of a default
 3    judgment against Defendant Global Financial Support, Inc. (Global). This motion is
 4    based upon the clerk’s entry of default against Defendant Global, ECF 90, this Notice of
 5 Motion and Motion, the accompanying Memorandum and Points of Authorities and
 6 evidence cited therein, the entirety of the filings and records in this action, and any
 7 evidence or argument that may be adduced at a hearing held by the Court on this motion
 8 if such a hearing is held.
 9          The Bureau has provided notice of this motion and the intended hearing date to the
10 Defendant.
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12                                                     Respectfully submitted,
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                                                       John C. Wells
14                                                     Deputy Enforcement Director
15
                                                       James T. Sugarman
16                                                     Assistant Litigation Deputy
17                                                     /s/ Nina Schichor
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25 Dated: August 21, 2020
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27
28
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                                                                 Plaintiff’s Notice of and Motion for Default
                                                                 Judgment
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1                                 CERTIFICATE OF SERVICE
2
      I hereby certify that on August 21, 2020, I electronically filed the foregoing document via
3     ECF and emailed a courtesy copy to pro se Defendant Armond Aria and Defendant
4     Global Financial Support, Inc., at the email address confirmed by Mr. Aria,
      ariaarmond@gmail.com.
5
                                                       /s/ Nina Schichor
6                                                      Nina Schichor
7                                                      Enforcement Attorney
                                                       Consumer Financial Protection Bureau
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                                                       Washington, DC 20552
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                                                                Plaintiff’s Notice of and Motion for Default
                                                                Judgment
